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                                                                                                                                                                                       EXHIBIT B
      Coronavirus Disease 2019 (COVID-19)

     Evidence used to update the list of underlying medical
     conditions that increase a person’s risk of severe illness
     from COVID-19
     Updated June 25, 2020                                                                          Print Page



     Updates to the list of underlying medical conditions that put individuals at increased risk for severe illness from COVID-19
     were based on published reports, articles in press, unreviewed pre-prints, and internal data available between December 1,
     2019 and May 29, 2020. This list is a living document that will be periodically updated by CDC, and it could rapidly change as
     the science evolves. Severe illness from COVID-19 was de ned as hospitalization, admission to the ICU, intubation or
     mechanical ventilation, or death.

     The level of evidence for each condition was determined by CDC reviewers based on available information about COVID-19.
     Conditions were added to the list (if not already on the previous underlying medical conditions list [originally released in
     March 2020]) if evidence for an association with severe illness from COVID-19 met any of the following criteria:

             Strongest and most consistent evidence: De ned as consistent evidence from multiple small studies or a strong
             association from a large study,
             Mixed evidence: De ned as multiple studies that reached di erent conclusions about risk associated with a condition, or
             Limited evidence: De ned as consistent evidence from a small number of studies. categorization for a condition’s
             association with severe illness from COVID-19, the condition was added to the list (if not already on the previous
             underlying medical conditions list [originally released in March 2020]).

     Quali ers to previously listed conditions were added or removed if there was strong evidence to support that the condition
     be expanded. Conditions previously listed were to be removed if there was strong and consistent evidence demonstrating no
     association with severe outcomes. Based on this criterion, no conditions were removed from the previous underlying medical
     conditions list dated March 2020.


                                                                                                               Evidence of Impact on
      Level of Evidence                Condition                                                               COVID-19 Severity                Notes

      Strongest and Most               Serious heart conditions, such as heart failure,                        Cohort Study [1, 2]              On previous version of list as “Serious Heart
      Consistent Evidence              coronary artery disease, or cardiomyopathies                            Meta Analyses [3, 4]             Conditions”
                                                                                                               Case Series [5]

                                       Chronic kidney disease                                                  Case Series [6, 7, 8]            On previous version of list as “Chronic Kidney
                                                                                                               Cohort Studies [9, 10,           Disease Requiring Dialysis”
                                                                                                               11]

                                       COPD                                                                    Meta Analyses [4, 12]            On previous version of list
                                                                                                               Case Series [13]
                                                                                                               Cohort Study [10]

                                       Obesity (BMI> 30)                                                       Cohort Studies [14, 15,          On previous version of list as “Severe Obesity
                                                                                                               16, 17, 18]                      (BMI ≥40)”
                                                                                                               Cross-sectional [19]

                                       Sickle cell disease                                                     Case Series [20, 21, 22,         On previous version of list
                                                                                                               23, 24]

                                       Solid organ transplantation                                             Case Series [8, 25, 26,          New to updated list as of June 25, 2020
                                                                                                               27, 28, 29, 30]

                                       Type 2 diabetes mellitus                                                Case Series [7]                  On previous version of list
                                                                                                               Longitudinal Study [31]
                                                                                                               Cohort Study [32, 33]
                                                                                                               Meta Analysis [34]



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                                                                                                               Evidence of Impact on
      Level of Evidence                Condition                                                               COVID-19 Severity                Notes


      Mixed Evidence                   Asthma                                                                  Cohort Study [10, 35,            On previous version of list
                                                                                                               36, 37]
                                                                                                               Case Series [13]

                                       Cerebrovascular disease                                                 Meta Analysis [38, 39,           New to updated list as of June 25, 2020
                                                                                                               40, 41]
                                                                                                               Synthesis of Evidence
                                                                                                               [42]
                                                                                                               Cohort Study [1, 2, 43,
                                                                                                               44, 45]

                                       Hypertension                                                            Cohort Study [1, 2, 45,  New to updated list as of June 25, 2020
                                                                                                               46, 47]
                                                                                                               Systematic Review [48]
                                                                                                               Meta Analyses [3, 4, 49]

                                       Pregnancy                                                               Systematic Review [50]
                                                                                                               Case Control Study [51]
                                                                                                               Case Series [52, 53, 54,
                                                                                                               55]
                                                                                                               Cohort Study [56, 57,
                                                                                                               58]

                                       Smoking                                                                 Meta Analyses [3, 59,            On previous version of list
                                                                                                               60, 61, 62]

                                       Use of corticosteroids or other immunosuppressive                       Case Series [63, 64, 65]         On previous version of list
                                       medications                                                             Cohort Study [66, 67]

      Limited Evidence                 Bone marrow transplantation                                             Review [68]                      On previous version of list

                                       HIV                                                                     Case Series [69, 70]             On previous version of list

                                       Immune de ciencies                                                      Case Series [71]                 On previous version of list
                                                                                                               Systematic Review [72]

                                       Inherited metabolic disorders                                           Cohort Study [43, 73]            New to updated list as of June 25, 2020; speci c
                                                                                                                                                to pediatric populations at this time

                                       Neurologic conditions                                                   Cross-Sectional Study            New to updated list as of June 25, 2020; speci c
                                                                                                               [74]                             to pediatric populations at this time
                                                                                                               Cohort Study [37, 45,
                                                                                                               73]

                                       Other chronic lung diseases                                             Meta Analysis [4]                On previous version of list
                                                                                                               Case Series [13]
                                                                                                               Cohort Study [10, 75]

                                       Liver disease                                                           Meta Analysis [76]               On previous version of list
                                                                                                               Cohort Study [77, 78]
                                                                                                               Literature Review [79]

                                       Type 1 diabetes mellitus                                                Case Series [7]                  On previous version of list
                                                                                                               Cohort Study [32, 33]
                                                                                                               Meta Analysis [34]

                                       Thalassemia                                                             Case Series [80]                 On previous version of list
                                                                                                               Cross-Sectional Study
                                                                                                               [81]


     Bold citations indicate the reference is published
     Italicized citations indicate the reference is not peer reviewed
     Non-bold, non-italicized citations indicate the reference is in press

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